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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


 UNITED STATES
                                                           Docket No. 23-CR-10158
            v.

 KEMAL MRNDZIC


  DEFENDANT’S MOTION TO CONTINUE TRIAL OPENING STATEMENTS AND
  WITNESS PRESENTATION TO A DATE NO SOONER THAN OCTOBER 9, 2024

       Defendant Kemal Mrndzic respectfully moves this Court to continue the presentation of

opening statements and witnesses until a date no sooner than October 9, 2024. Undersigned

counsel brings this motion with reluctance. However, in light of a substantial quantity of discovery

produced this afternoon, a continuance is necessary in order for counsel to provide effective

assistance to their client. Specifically, a continuance is required for the following reasons:

       On Sunday, October 6, 2024, at 2:52 PM, the day before trial, the government produced

additional Jencks material covering over 6,000 Bates-pages. The discovery produced in this case

has already been voluminous. Undersigned has requested a database production of this material to

better assist in its timely review and searching relative to witnesses.

       In order to provide effective assistance of counsel to Mr. Mrndzic and to protect his

fundamental right to a fair trial, the defense requests a continuance of the opening statements and

witness presentation to a date no sooner than October 9, 2024. Undersigned counsel are “ethically

obligated to examine all of this discovery and evaluate it for its probative value.” See United States

v. Aysheh, No. 17-cr-370-JCH, 2023 WL 8005238, at *2 (D.N.M. Nov. 17, 2023) (granting

defendants’ motion to continue trial where government produced thousands of pages of discovery

in the two months leading up to trial). Additional time is required not only to digest any exculpatory


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information that the defense may uncover in the October 6 production, but to pursue lines of

investigation suggested by this information and to assure production of other exculpatory

information it believes that the government may have in its possession.

       For the foregoing reasons, counsel respectfully requests a continuance of witness

presentation until a date no sooner than October 9, 2024.

                                                      Respectfully submitted,

                                                      /s/ Brendan Kelley
                                                      Brendan Kelley

                                                      /s/ Forest O’Neill-Greenberg
                                                      Forest O’Neill-Greenberg

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                                 CERTIFICATE OF SERVICE

        I, Brendan Kelley, hereby certify that this document(s) filed through the ECF system will
be sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) on October 6, 2024.

                                                      /s/ Brendan Kelley
                                                      Brendan Kelley




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